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              Exhibit 12
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 1                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
 2

 3                                       )
       JANSSEN BIOTECH, INC.,            )
 4     and NEW YORK UNIVERSITY,          )
                                         )
 5               Plaintiffs,             )
                                         )   Civil Action
 6     v.                                )   No. 15-CV-10698-MLW
                                         )
 7     CELLTRION HEALTHCARE CO.,         )
       LTD, CELLTRION, INC., and         )
 8     HOSPIRA, INC.,                    )
                                         )
 9               Defendants.             )
                                         )
10

11

12                      BEFORE THE HONORABLE MARK L. WOLF
                           UNITED STATES DISTRICT JUDGE
13

14                                 MOTION HEARING

15
                                  December 22, 2016
16                                    10:41 a.m.

17

18                  John J. Moakley United States Courthouse
                                Courtroom No. 10
19                             One Courthouse Way
                          Boston, Massachusetts 02210
20

21

22
                            Kelly Mortellite, RMR, CRR
23                            Official Court Reporter
                    John J. Moakley United States Courthouse
24                        One Courthouse Way, Room 5200
                           Boston, Massachusetts 02210
25                             mortellite@gmail.com
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                                                                                15




 1     argument in the most skeletal way leaving the court to do

 2     counsel's work.    Rather a litigant has an obligation to spell

 3     out its argument squarely and distinctly or else forever hold

 4     its peace."    That's at page 17.

 5               So it's not necessary or appropriate for me at this

 6     time to try to determine whether there's adequate evidence --

 7     well, whether that linkage is required or whether there's

 8     adequate evidence to support it.       The plaintiff didn't have

 9     clear notice of the issue, didn't brief or argue it.             But I

10     will say to help shape future proceedings that the evidence

11     may -- well, there is evidence that tends to indicate that the

12     changes that were made caused or contributed to the HyClone

13     product being an infringing product if it was.

14               As I explained earlier, "Celltrion directed

15     substantial changes to the base media," as Lee testified at

16     pages 6 to 15.    There is therefore evidence that the product

17     HyClone created at Celltrion's direction was substantially

18     different than HyClone's standard product.         In addition, after

19     gathering information from experiments, Celltrion had those

20     changes made to the resulting -- it had those changes made in

21     order to make the resulting biosimilar drug more comparable to

22     Janssen's drug.    That's Exhibit 14 at page 9.       It would be

23     reasonable, it appears, for a jury to infer that making the

24     media -- the effect was to make HyClone's media more similar to

25     the '083 patented media in order to get the same result.
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                                                                              16




 1     Therefore, on the present, not well-developed record, factually

 2     or in terms of argument, it appears to me that a reasonable

 3     jury could infer that Celltrion's instruction caused the

 4     infringement.

 5               So that's my reasoning with regard to the section

 6     271(a) direct infringement claim.

 7               With regard to induced infringement, induced

 8     infringement under section 271(b) requires both an affirmative

 9     act that encourages infringement and specific intent:            that is

10     "knowledge that the induced act or acts constitute patent

11     infringement."    The Supreme Court said that in Global-Tech, 563

12     U.S. at 766.    In Global-Tech, the court also noted that intent

13     can be proven by establishing willful blindness.          Willful

14     blindness is knowledge of a high probability that the product

15     will infringe and deliberate action by the defendant to avoid

16     learning that fact.     That's Global-Tech, as I said.

17               The defendants argue that as a matter of law their

18     good faith reasonable belief in non-infringement precludes the

19     jury from drawing an inference of specific intent and requires

20     summary judgment.

21               In Commil, the Supreme Court stated that, "If the

22     defendant reads the patent's claims differently from the

23     plaintiff and that reading is reasonable, it is not necessarily

24     liable for inducing infringement," 135 Supreme Court 1920,

25     1927.
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                                                                          17




 1               Similarly, in Warsaw Orthopedic, the Federal Circuit

 2     held that where a defendant's belief in non-infringement was

 3     based on its reading of the patent to allow a jury to infer

 4     specific intent to infringe, "it is sufficient that the

 5     plaintiff establish that a defendant's asserted belief in

 6     non-infringement was unreasonable."        That's 824 F. 3d 1351 note

 7     2.

 8               These cases mean that an objectively unreasonable

 9     belief in non-infringement is circumstantial evidence of

10     specific intent to infringe.       Similarly, an asserted reasonable

11     belief -- may be more precise -- a reasonable basis for

12     believing that a product doesn't infringe would be evidence

13     that a defendant did not have the specific intent to infringe.

14     However, such a belief would not justify taking that question

15     away from the jury.

16               The Federal Circuit has held that where it is

17     supported by circumstantial evidence, an alleged "good-faith

18     belief [in non-infringement] presents a factual question," and,

19     "not an entitlement to a no-knowledge finding as a matter of

20     law."   That's Smith & Nephew, Inc., 603, Federal Appendix, 981,

21     990.

22               Where the evidence supports the conclusion that the

23     defendant had a subjective belief that the acts it encouraged

24     would infringe the patent, the court must deny summary

25     judgment, even if the court believes the defendant's reading is
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 1                       CERTIFICATE OF OFFICIAL REPORTER

 2

 3                     I, Kelly Mortellite, Registered Merit Reporter

 4     and Certified Realtime Reporter, in and for the United States

 5     District Court for the District of Massachusetts, do hereby

 6     certify that pursuant to Section 753, Title 28, United States

 7     Code that the foregoing is a true and correct transcript of the

 8     stenographically reported proceedings held in the

 9     above-entitled matter and that the transcript page format is in

10     conformance with the regulations of the Judicial Conference of

11     the United States.

12                           Dated this 28th day of December, 2016.

13

14                           /s/ Kelly Mortellite

15                           _______________________________

16                           Kelly Mortellite, RMR, CRR

17                           Official Court Reporter

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